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                                                    IN THE UNITED STATES BANKRUPTCY COURT
                                                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                                              ALEXANDRIA DIVISION
                               In re:
                               ALICE THOMAS
                                                                                          CHAPTER 13
                               DBA DICON CONSULTING,
                                               DEBTOR.                                    CASE NO. 17-14198-KHK
                               HSBC BANK USA, NATIONAL ASSOCIATION AS
                               TRUSTEE FOR NOMURA ASSET ACCEPTANCE
                               CORPORATION, MORTGAGE PASS-THROUGH
                               CERTIFICATES, SERIES 2005-AR6,
                                          MOVANT,
                               vs.
                               ALICE THOMAS
                               and THOMAS P. GORMAN, TRUSTEE,
                                               RESPONDENTS.
                                            MOTION FOR IN REM RELIEF FROM THE AUTOMATIC STAY
                                 (REAL PROPERTY LOCATED AT 6516 RIVER TWEED LANE, ALEXANDRIA, VA 22312)
                                                                          NOTICE

                               YOUR RIGHTS MAY BE AFFECTED. YOU SHOULD READ THESE PAPERS CAREFULLY AND DISCUSS THEM WITH
                               YOUR ATTORNEY, IF YOU HAVE ONE IN THIS BANKRUPTCY CASE. (IF YOU DO NOT HAVE AN ATTORNEY, YOU
                               MAY WISH TO CONSULT ONE.)

                               TO:      ALICE THOMAS, PRO SE DEBTOR
                                        THOMAS P. GORMAN, TRUSTEE

                               IF YOU DO NOT WISH THE COURT TO GRANT THE RELIEF SOUGHT IN THE MOTION, OR IF YOU WANT THE
                               COURT TO CONSIDER YOUR VIEWS ON THE MOTION, THEN WITHIN FOURTEEN (14) DAYS FROM THE DATE OF
                               SERVICE OF THIS MOTION, YOU MUST FILE A WRITTEN RESPONSE EXPLAINING YOUR POSITION WITH THE
                               COURT AND SERVE A COPY ON THE MOVANT. UNLESS A WRITTEN RESPONSE IS FILED AND SERVED WITHIN
                               THIS FOURTEEN (14) DAY PERIOD, THE COURT MAY DEEM OPPOSITION WAIVED, TREAT THE MOTION AS
                               CONCEDED, AND ISSUE AN ORDER GRANTING THE REQUESTED RELIEF WITHOUT FURTHER NOTICE OR
                               HEARING.

                               IF YOU MAIL YOUR RESPONSE TO THE COURT FOR FILING, YOU MUST MAIL IT EARLY ENOUGH SO THE COURT
                               WILL RECEIVE IT ON OR BEFORE THE EXPIRATION OF THE FOURTEEN (14) DAY PERIOD.

                               THE PRELIMINARY HEARING IS SCHEDULED TO BE HELD ON FEBRUARY 7, 2018
                               AT 9:30 AM IN THE U.S. BANKRUPTCY COURT, ALEXANDRIA DIVISION, 200 S.
                               WASHINGTON STREET, ALEXANDRIA, VA 22314, COURTROOM II, 2ND FLOOR.

Johnie R. Muncy, Esquire
Counsel for Movant
Samuel I White, P.C.
Bar No. 73248
1804 Staples Mill Road
Suite 200
Richmond, VA 23230
(804) 290-4290
File No. 35678

                                                                                                         Prepared By: Samuel I. White, P.C.
                                                                                                           Return To: Samuel I White, P.C.
                                                                                                                    1804 Staples Mill Road
                                                                                                                                 Suite 200
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                                                                                                               Tax Map No.:0721 26010051
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               HSBC Bank USA, National Association as Trustee for Nomura Asset Acceptance
      Corporation, Mortgage Pass-Through Certificates, Series 2005-AR6 (“Movant”) hereby moves
      this Court, pursuant to 11 U.S.C. § 362, for IN REM relief from the automatic stay with respect to
      certain real property of the Debtor having an address of 6516 River Tweed Lane, Alexandria,
      VA 22312 (the “Property”), for all purposes allowed by the Note (defined below), the Deed of
      Trust (defined below), and applicable law, including but not limited to the right to foreclose. In
      further support of this Motion, Movant respectfully states:
               1.       This Court has jurisdiction over this proceeding pursuant to 28 U.S.C. §157 and
      §1334 and 11 U.S.C. §362(d), and this matter is a core proceeding.
               2.       A petition under Chapter 13 of the United States Bankruptcy Code was filed with
      respect to the Debtor on December 11, 2017.
               3.       The Debtor has executed and delivered or is otherwise obligated with respect to
      that certain promissory note in the original principal amount of $372,800.00 (the “Note”). A copy
      of the Note is attached hereto as Exhibit A.
               4.       Pursuant to that certain Deed of Trust (the “Deed of Trust”), all obligations
      (collectively, the “Obligations”) of the Debtor under and with respect to the Note and the Deed of
      Trust are secured by the Property and the other collateral described in the Deed of Trust. The
      lien created by the Deed of Trust was perfected by recording of the Deed of Trust in the office of
      the Clerk of the County of Fairfax, Virginia. A copy of the recorded Deed of Trust is attached
      hereto as Exhibit B.
               5.       The terms of the Note were amended by a loan modification agreement entered
      into by and between HSBC Bank USA, National Association as Trustee for Nomura Asset
      Acceptance Corporation, Mortgage Pass-Through Certificates, Series 2005-AR6 and the Debtor
      dated May 27, 2013 (the “Loan Modification Agreement”).         A copy of the Loan Modification
      Agreement is attached hereto as Exhibit C.
               6.       The legal description of the Property is:
                    All that Parcel of Land in the City of Alexandria, Fairfax County, State
                    of Virginia, as more fully described in Deed Book 11839, Page 1630 ID
                    #072-1-26-01-001, being known and designated at Lot 51, Section 1-3,
                    THE PINECREST, filed in plat book 6281, Page 1364.

               7.       Wells Fargo Bank, N.A. services the loan on the Property referenced in this
      Motion. In the event the automatic stay in this case is modified, this case dismisses, and/or the
      Debtor obtains a discharge and a foreclosure action is commenced on the mortgaged property,
      the foreclosure will be conducted in the name of Movant. Debtor executed a promissory note
      secured by a mortgage or deed of trust. The promissory note is either made payable to Creditor or
      has been duly indorsed. Creditor, directly or through an agent, has possession of the promissory
      note. Creditor is the original mortgagee or beneficiary or the assignee of the mortgage or deed of
      trust.
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              8.      Upon information and belief, the Debtor has filed successive bankruptcies, which
      have repeatedly delayed and hindered Movant’s efforts to foreclose. To date, this present case is
      the Debtor's third bankruptcy filing since October 19, 2015, to wit:
                           a. The Debtor Alice Hannah Thomas filed Chapter 13 Case No. 15-13647-
                                BFK on October 19, 2015 in the Eastern District of Virginia, Alexandria
                                Division. Though the Debtor filed a Motion to Dismiss on November 17,
                                2015, the Court dismissed the case on November 20, 2015 due to the
                                Debtor’s failure to appear at the hearing on the Debtor’s Motion to Defer
                                Credit Counseling. The filing of this case caused the cancellation of a
                                foreclosure sale scheduled for October 19, 2015.
                           b. The Debtor Alice Hannah Thomas dba Diagnostic Consultants LLC filed
                                Chapter 13 Case No. 17-10436-KHK on February 13, 2017, in the
                                Eastern District of Virginia, Alexandria Division. An Order Dismissing
                                Case was entered on February 27, 2017, after the Court denied the
                                Debtor’s Motion to Waive the requirement to complete a pre-petition
                                credit counseling course. The filing of this case caused the cancellation
                                of a foreclosure sale scheduled for February 13, 2017.
                           c.   The Debtor filed the instant case on December 11, 2017, which caused
                                the cancellation of a foreclosure sale scheduled for December 11, 2017.
              9.      Furthermore, the Debtor has been offered and/or has requested loss mitigation
      on thirteen (13) separate occasions between November 16, 2011 to October 27, 2017, to wit:
                           a. 11/16/11 - Denied due to SS HAFA documents not being received
                           b. 12/21/11 - Denied due to Borrower not sending requested information
                           c.   05/21/12 - Denied due to Borrower not sending requested information
                           d. 08/06/12 - Denied due to Borrower not sending requested information
                           e. 10/17/12 - Denied due to Borrower not sending requested information
                           f.   04/29/13 - Loan Modification Complete
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                                   g. 04/07/16 - Denied due to HAFA SS/DILA not met
                                   h. 06/17/16 - Denied due to offer below fair market value
                                   i.   07/29/16 - Denied due to offer below fair market value
                                   j.   08/19/16 - Denied due to offer below fair market value
                                   k.   01/05/17 - Denied due to SSHAFA not closed timely
                                   l.   08/30/17 - Denied due to Borrower not sending requested information
                                   m. 10/27/17 - Denied – Appeal Complete
               10.             As of January 3, 2018, the unpaid principal and interest balance due is
                     1
      $419,320.77        and the approximate outstanding amount of the Obligations less any partial
      payments or suspense balance is $463,783.49. The loan is contractually due for the April 1,
      2015 monthly payment, with the monthly arrears totaling $62,524.66.
               11.             The estimated value of the Property is $458,080.00. The basis for such valuation
      is: Tax Assessment, a copy of which is attached hereto as Exhibit D.
               12.             Cause exists for relief from the automatic stay for the following reasons:
                         i.             Movant’s interest in the Property is not adequately protected.
                         ii.            Debtor's repeated bankruptcy filings in close proximity to scheduled
                                        foreclosure sales demonstrate an abuse of the bankruptcy process
                                        designed to frustrate Movant’s efforts to pursue its remedies related to
                                        the property.
               WHEREFORE, Movant prays that this Court issue an Order terminating or modifying the
      stay and granting the following:
               1.              Relief from the stay to be granted IN REM for all purposes allowed by applicable
      law, the Note, and the Deed of Trust, including but not limited to allowing Movant to proceed
      under applicable non-bankruptcy law to enforce its remedies to foreclose upon and obtain
      possession of the Property and any and all other collateral pledged under the Deed of Trust;
               2.              Declaring that any future filing by the Debtor or any co-owners or entities
      affiliated with them, be ineffective as to the Movant, so that the Movant shall have the right to take
      lawful action necessary under state law to obtain complete possession of the subject property
      without further order of this Court or any hearing being necessary;
               3.              Waiver of the 14-day stay described by Bankruptcy Rule 4001(a)(3); and
               4.              For such other relief as the Court deems proper.




      1
        $20,116.27 of this is the deferred principal balance and the borrower does not pay interest or make monthly payments
      on this amount.
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              Dated: January 5, 2018
                                                      HSBC BANK USA, NATIONAL ASSOCIATION
                                                      AS TRUSTEE FOR NOMURA ASSET
                                                      ACCEPTANCE CORPORATION, MORTGAGE
                                                      PASS-THROUGH CERTIFICATES, SERIES
                                                      2005-AR6

                                                      By: /s/JOHNIE R. MUNCY
                                                      Eric D. White, Esquire, Bar No. 21346
                                                      Michael T. Freeman, Esquire, Bar No. 65460
                                                      Brandon R. Jordan, Esquire, Bar No. 72170
                                                      Johnie R. Muncy, Esquire, Bar No. 73248
                                                      Nisha R. Patel, Esquire, Bar No. 83302
                                                      Samuel I. White, P.C.
                                                      1804 Staples Mill Road
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                                                      Richmond, VA 23230
                                                      Tel.: (804) 290-4290
                                                      Fax: (804) 290-4298
                                                      jmuncy@siwpc.com

                                       CERTIFICATE OF SERVICE

             I certify that on January 5, 2018, the foregoing Notice and Motion were served via CM/ECF
      on Thomas P. Gorman, Trustee, at the email address registered with the Court, and that a true
      copy was mailed via first class mail, postage prepaid, to Alice Thomas, Pro Se Debtor, 6516 River
      Tweed Lane, Alexandria, VA 22312.

                                                      /s/JOHNIE R. MUNCY
                                                      Johnie R. Muncy, Esquire
                                                      Samuel I. White, P. C.
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